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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, U.S. Chief Magistrate Judge
                                                                                        Initial Appearance
Criminal No. 1:21-cr-00005-JAJ-HCA-1                          : Clerk’s Court Minutes – Arraignment
_______________________________________________________________________________________________________________________________________

United States of America vs. Zachery Robert McCuen
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Michael Duffy for S. Sudmann                : ✔ Indictment    Superseding Indictment     Information
Def. Atty(s): William F McGinn                            : Complaint       Warrant
Court Reporter: FTR Gold                                  : Code Violation/Offense:
Interpreter: NA                                           : 18:2252(a)(2) and 2252(b)(1). Receipt of Child Pornography
___________________________________________________________

Date: July 9, 2021                                        :
Time Start: 10:04 am Time End: 10:11 am                   :
_______________________________________________________________________________________________________________________________________

                                                        Initial Appearance
✔ Defendant Advised of Rights
Representation:     Appointed FPD                    Appointed CJA           ✔ Retained Counsel
Next Court Event:   Preliminary                      Arraignment               Removal Hearing
      Set for:
_______________________________________________________________________________________________________________________________________

                                                            Arraignment
Trial Scheduled for: 9/7/2021                             : ✔ Advised of Charges/Maximum Penalties
Rule 16 Material due: 7/19/2021                           : ✔ Indicted in True Name
Reciprocal Discovery due: 7/29/2021                       :        True Name:
Pretrial Motions due: 8/16/2021                           :   ✔  Reading of Indictment Waived
Plea Notification Deadline:                               : Plea of Not Guilty Accepted as to Ct(s): 1
Plea Entry Deadline: 8/20/2021                            :      Denied Forfeiture
_______________________________________________________________________________________________________________________________________

                                         Custody Status
✔ Government Moved for Detention             Detention Hearing Set: 7/13/2021, at 1:45 p.m.
Court Ordered Defendant: Released on Bond ✔ Detained
_______________________________________________________________________________________________________________________________________
Minutes:
Court and counsel are present in the courtroom for an Initial Appearance and Arraignment. Defendant is
present with counsel named above. Defendant advised of rights. Rule 5 admonition given. Arraignment
began at 10:07 a.m. Court set dates. Government moves for detention. Court set the detention hearing for
7/13/2021, at 1:45 p.m., before the Honorable Stephen H. Locher via video conference between Council Bluffs
and Des Moines. Court orders defendant to remain detained pending further proceedings.

Plea Entry Deadline of 8/20/2021, is set; Defendant is advised that failure to enter a plea by this date may
negatively impact consideration and finding regarding reduction in offense level based upon Acceptance of
Responsibility pursuant to USSG. Court holds colloquy with Defendant and Defendant affirms that they were
satisfied with video proceedings.


                                                                                         /s/ V. Rule
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                                                                                         Deputy Clerk
